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                                             March 21, 2018
Via CM/ECF

Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl Street, Room 1610
New York, NY 10007

          Re:       Alpine Securities Corporation adv. United States Securities and Exchange Comm.
                    Civil No. 1:17-cv-04179-DLC

   STIPULATED LETTER MOTION REQUESTING A 21-DAY EXTENSION OF THE
   DEADLINE FOR COMPLETION OF FACT DISCOVERY AND CORRESPONDING
          DEADLINES UNDER THE CURRENT SCHEDULING ORDER

Dear Judge Cote:

       This letter is being jointly filed by Defendant Alpine Securities Corporation (“Alpine”)
and Plaintiff Securities and Exchange Commission (“SEC”) to request a twenty-one (21) day
extension to the remaining dates under the pretrial scheduling order, as set forth in greater detail
below. The grounds for the parties’ request are that the parties need additional time, until April
20, 2018, for the completion of depositions of witnesses in order to accommodate the schedule of
the witnesses and counsel, and because of a postponement of a deposition that was originally
scheduled for March 22, 2018 until April 19, 2018 due to inclement weather affecting travel from
New York City. The parties have completed three depositions and have each filed dispositive
motions as of the date of this Letter Motion. The parties also request that all other scheduling
dates be extended accordingly, to accommodate the 21-day extension to fact discovery.
          Pursuant to the Court’s Individual Practices 1.E:

          1. The original due date for the close of fact discovery is March 30, 2018.

          2. This is the parties’ first request for an extension of fact discovery.

          3. Both parties stipulate to the extension of fact discovery and corresponding extensions
             to the Pretrial Scheduling Order as stated below.


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        If the requested extension is granted, the proposed Revised Pretrial Scheduling Order will
be as follows:

          1. All fact discovery must be completed by April 20, 2018.

          2. Expert reports and disclosure of expert testimony conforming to the requirements of
             Rule 26(a)(2)(B), Fed. R. Civ. P., by the party bearing the burden on an issue must be
             served by May 11, 2018. Identification of rebuttal experts and disclosure of their
             expert testimony must occur by June 1, 2018.

          3. All discovery must be completed by June 22, 2018.

          4. The following motion will be served by the dates indicated below:

                 Any motion for summary judgment:

                    -   Motion served by August 3, 2018
                    -   Opposition served by August 24, 2018
                    -   Reply served by September 7, 2018

          5. In the event no motion is filed, the Joint Pretrial Order must be filed by August 3,
             2018.

       Pursuant to the Court’s Individual Practices 1.E, a proposed Revised Pretrial Scheduling
Order is filed concurrently herewith. The parties respectfully request that the Court approve an
extension of fact discovery and enter the proposed Revised Pretrial Scheduling Order.

                                                Respectfully submitted,

                                                /s/ Brent R. Baker
                                                Brent R. Baker (BB 8285)
                                                Aaron D. Lebenta (pro hac vice)
                                                Jonathan D. Bletzacker (pro hac vice)
                                                CLYDE SNOW & SESSIONS
                                                One Utah Center, 13th Floor
                                                201 South Main Street
                                                Salt Lake City, Utah 84111-2216
                                                Telephone 801.322.2516
                                                Facsimile 801.521.6280
                                                Email: brb@clydesnow.com
                                                        adl@clydesnow.com
                                                        jdb@clydesnow.com



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                                           Maranda E. Fritz
                                           335 Madison Avenue, 12th Floor
                                           New York, New York 10017-4611
                                           Tel. (212) 344-5680
                                           Fax (212) 344-6101
                                           Maranda.Fritz@thompsonhine.com

                                           Attorneys for Alpine


                                           /s/ Terry R. Miller
                                           Zachary T. Carlyle (pro hac vice)
                                           Terry R. Miller (pro hac vice)
                                           Attorneys for Plaintiff
                                           UNITED STATES SECURITIES AND
                                           EXCHANGE COMMISSION
                                           1961 Stout Street, 17th Floor
                                           Denver, Colorado 80294
                                           (303) 844-1000
                                           Electronically signed with permission

cc: Counsel of Record (via CM/ECF)




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